                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:24-CV-00344-SCR


 JOHN DOE, et. al.,                              )
                                                 )
                   Plaintiffs,                   )
                                                 )
 v.                                              )
                                                 )                      ORDER
 MARRIOTT INTERNATIONAL, INC.,                   )
 et. al.,                                        )
                                                 )
                 Defendants.                     )



       THIS MATTER is before the Court on the “Motion[s] for Admission Pro Hac Vice and

Affidavit[s] [for Thomas G. Tidwell and Luciana Aquino]” (Doc. Nos. 28 & 29) filed December

4, 2024. For the reasons set forth therein, the Motions will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel.


       SO ORDERED.

                                             Signed: December 4, 2024




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